       Case 22-01094-KHK           Doc 1   Filed 11/30/22 Entered 11/30/22 13:37:22   Desc Main
                                           Document      Page 1 of 7



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

       In re:                                        *
                                                         Bankruptcy Case
       MOHAMED A. EL RAFAEI,                         *   Case No. 20-12583-KHK
                                                         Chapter 7
             Debtor.                                 *
             *     *     *    *   *                  *   *     *      *     *     *
       H. JASON GOLD, CHAPTER 7                      *
       TRUSTEE
             P.O. Box 57359                          *
             Washington, DC 20037
                                                     *
                Plaintiff
                                                     *   Adversary Proceeding
       v.                                                Case No.
                                                     *
       ADEL S. KEBAISH
            2333 Hunter Mill Road                    *
            Vienna, Virginia 22181
                                                     *
                and
                                                     *
       TYSONS LLC a/k/a TYSON’S LLC
           2333 Hunter Mill Road                     *
           Vienna, Virginia 22181
                                                     *
                Serve On:
                Adel S. Kebaish, R/A                 *
                2333 Hunter Mill Rd.
                Vienna, Virginia 22181               *

                Defendants                         *
                *    *     *           *     *     *    *      *      *     *     *      *
                                                 COMPLAINT

                NOW COMES, H. Jason Gold, Chapter 7 Trustee (“Trustee” or “Plaintiff”), by and

       through undersigned counsel, and hereby files this Complaint against Adel S. Kebaish

       and Tysons LLC a/k/a Tyson’s LLC (“Defendants”), and, in support thereof, states as

       follows:



THOMAS, THOMAS & HAFER, LLP                      1
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
       Case 22-01094-KHK            Doc 1    Filed 11/30/22 Entered 11/30/22 13:37:22   Desc Main
                                             Document      Page 2 of 7



                                            JURISDICTION AND VENUE

               1.      Plaintiff brings this adversary proceeding pursuant to and under Rule 7001

       of the Federal Rules of Bankruptcy Procedure, seeking relief pursuant to, inter alia,

       Sections 502, 549, 550 and 551 of title 11 of the United States Code (the “Bankruptcy

       Code”) to recover transfers made to Defendants.

               2.      The Court has jurisdiction over this adversary proceeding pursuant to 28

       U.S.C. §§ 157 and 1334. This adversary proceeding is a core proceeding pursuant to

       28 U.S.C. § 157(b)(2)(A), (F) and (O).

               3.      Venue of this adversary proceeding is properly in the United States

       Bankruptcy Court for the Eastern District of Virginia pursuant to 28 U.S.C. §§ 1408 and

       1409.

               4.      The Court has personal jurisdiction over the Defendants because they

       conducted business in this District, directed activities toward Debtor in this District,

       interacted with Debtor in this District, and/or the transfers at issue occurred, in whole or

       in part, in this District.

                                       PROCEDURAL BACKGROUND

               5.      On November 23, 2020, Mohamed A. El Rafaei (“Debtor”) filed a voluntary

       petition for relief under Chapter 11 of Title 11 of the United States Bankruptcy Code (the

       “Bankruptcy Code”).

               6.      On August 2, 2022, this Court entered an Order Approving Appointment of

       H. Jason Gold as Chapter 11 Trustee.

               7.      On August 17, 2022, this Court entered an Order Granting a Motion to

       Convert Case to Chapter 7.



THOMAS, THOMAS & HAFER, LLP                        2
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
       Case 22-01094-KHK           Doc 1   Filed 11/30/22 Entered 11/30/22 13:37:22   Desc Main
                                           Document      Page 3 of 7



               8.      H. Jason Gold has been appointed Chapter 7 Trustee for the Debtor’s

       estate and serves in such capacity pursuant to 11 U.S.C. § 702(d).

                                                        FACTS

               9.      The Debtor is a member of Café Concepts LLC.

               10.     On October 29, 2019, “Mohamed Elrafaei & Anis Rhanime doing business

       as Café Concepts, LLC” entered into a lease with “Adel S. Kebaish, MD/Tysons LLC”

       for commercial property at “7787 Leesburg Pie, Falls Church, Suite 100, VA 22043.”

               11.     There is a handwritten note on the Lease stating, “Mohamed El Rafaei is

       personally guarantor of the whole lease amount.”

               12.     The Lease’s term was December 1, 2019 to November 30, 2024.

               13.     The Lease required monthly payments of $15,000.00 starting on April 1,

       2020.

               14.     Before the Debtor filed for bankruptcy, he did not pay any of the rent due

       under the lease. Instead, Anis Rhanime paid all of the rent due.

               15.     After the Debtor filed for Chapter 11 bankruptcy as a Debtor-in-

       Possession, he made the following payments out of the Debtor-in-Possession account

       to the Defendants for rent or other costs associated with the property totaling

       $101,583.00.

                                           Date          Amount
                                           2/8/21          $15,000.00
                                           3/5/21          $15,000.00
                                           4/10/21         $15,000.00
                                           5/12/21          $8,000.00
                                           5/14/21          $3,000.00



THOMAS, THOMAS & HAFER, LLP                         3
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
       Case 22-01094-KHK           Doc 1   Filed 11/30/22 Entered 11/30/22 13:37:22    Desc Main
                                           Document      Page 4 of 7



                                           5/14/21        $4,000.00
                                           6/3/21         $8,000.00
                                           7/9/21        $10,583.00
                                           8/7/21        $15,000.00
                                           9/21/21        $8,000.00
                                           TOTAL        $101,583.00


               16.     The Debtor did not make these payments in the ordinary course of

       business because the Debtor’s ordinary course of business before filing for bankruptcy

       did not include paying rent and other costs associated with the property.

               17.     11 U.S.C. § 363(c) authorizes transactions involving property of the estate

       only “in the ordinary course of business.” The aforementioned payments were not

       authorized by this section or any other provision of the Bankruptcy Code.

                                              COUNT I
                     For Avoidance of a Post-Petition Transfers – 11 U.S.C. § 549

               18.     Plaintiff repeats and realleges each and every allegation contained in the

       foregoing paragraphs as if fully set forth herein.

               19.     The payments set forth above and made after the Petition Date were not

       authorize by this Court, the Estate or the law, and therefore, violated 11 U.S.C. § 549,

       and is subject to avoidance.

               20.     Plaintiff is entitled to avoid the transfers set forth above.

               21.     Defendants were the initial transferee of the transfers.

               22.     The transfers constitute property of the Debtor’s estate.




THOMAS, THOMAS & HAFER, LLP                         4
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
       Case 22-01094-KHK           Doc 1     Filed 11/30/22 Entered 11/30/22 13:37:22   Desc Main
                                             Document      Page 5 of 7



               23.     Plaintiff is entitled to recover the full value of the transfer and the

       Defendants are liable for the full value of the transfers pursuant to Section 550 of the

       Bankruptcy Code.

               24.     The aforementioned avoidable transfers should be preserved for the

       benefit of the Estate pursuant to 11 U.S.C. § 551.

                                                    COUNT II
                                       To Disallow Claims – 11 U.S.C. § 502

               25.     Plaintiff repeats and realleges each and every allegation contained in the

       foregoing paragraphs as if fully set forth herein.

               26.     Plaintiff seeks to disallow, pursuant to 11 U.S.C. § 502(d) and (j), any and

       all claims that the Defendants have filed or asserted or do file or assert against the

       Estate of the Debtor that made avoidable transfers, until such time that Defendants pay

       an amount equal to the aggregate amount of the transfers attributable to them, plus

       interest thereon and costs.

               27.     Plaintiff does not waive but hereby reserves all of his rights to object to

       any such claim for any reason, including but not limited to any reason set for in 11

       U.S.C. § 502.

                                                COUNT III
                                   To Recover Property – 11 U.S.C. § 550

               28.     Plaintiff repeats and realleges each and every allegation contained in the

       foregoing paragraphs as if fully set forth herein.

               29.     As alleged above, Plaintiff is entitled to avoid the above referenced

       transfers.




THOMAS, THOMAS & HAFER, LLP                        5
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
       Case 22-01094-KHK           Doc 1   Filed 11/30/22 Entered 11/30/22 13:37:22      Desc Main
                                           Document      Page 6 of 7



               30.     Defendants were the initial transferee, the entity for whose benefit the

       transfer was made, or an immediate or mediate transferee of such initial transferee.

               31.     Plaintiff is entitled to recover the value of the transfers under 11 U.S.C. §

       550, and is entitled to an order and judgment in the amount of the transfers.

                                                COUNT IV
                                To Preserve the Transfers – 11 U.S.C. § 551

               32.     Plaintiff repeats and realleges each and every allegation contained in the

       foregoing paragraphs as if fully set forth herein.

               33.     The transfers described above are property of the estate of the Debtor.

               34.     The transfers described above should be preserved for the benefit of the

       Debtor’s estate pursuant to § 551 of the Bankruptcy Code.

                                           PRAYER FOR RELIEF

               WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this

       Honorable Court enter judgment against the Defendants granting the following relief:

               A.      Avoiding the above referenced transfers, holding the Defendants liable for

       the transfers that they received, and directing the Defendants to return to the Plaintiff

       the amount of the transfers that they received plus interest from the date of demand at

       the maximum legal rate and to the fullest extent allowed under applicable law, together

       with the costs and expenses of this action to the fullest extent allowed under applicable

       law pursuant to 11 U.S.C. §§ 549 and 550;

               B.      Preserving for the benefit of the Estate the above referenced transfers or

       the value thereof pursuant to 11 U.S.C. § 551;




THOMAS, THOMAS & HAFER, LLP                      6
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
       Case 22-01094-KHK           Doc 1   Filed 11/30/22 Entered 11/30/22 13:37:22    Desc Main
                                           Document      Page 7 of 7



               C.      Disallowing any and all claims held or filed by any Defendants against the

       Estate of the Debtor until that Defendants return the amount of any transfers attributable

       to them to the Plaintiff pursuant to 11 U.S.C. § 502; and

               D.      Granting the Plaintiff such other and further relief as this Court may deem

       just and proper.

                                                     /s/ Charles B. Peoples
                                                     THOMAS, THOMAS & HAFER, LLP
                                                     Charles B. Peoples, Esquire, VB No. 89981
                                                     Thomas, Thomas & Hafer LLP
                                                     1025 Connecticut Avenue, NW, Suite 608
                                                     Washington, DC 20036
                                                     Phone: (202) 945-9501
                                                     Cell: (443) 907-6046
                                                     Fax: (202) 945-9509
                                                     cpeoples@tthlaw.com
                                                     Counsel for Chapter 7 Trustee




THOMAS, THOMAS & HAFER, LLP                      7
1025 CONNECTICUT AVE., NW, SUITE 608
WASHINGTON, DC 20036
6240478.1
